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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

STEVEN B. AUBREY, AND                                   §
BRIAN E. VODICKA,                                       §
                                                        §
                            Plaintiffs,                 §
                                                        §
v.                                                      §         Civil Action No. 3:19-CV-0056-B
                                                        §
D MAGAZINE PARTNERS, L.P.                               §
ALLISON MEDIA, INC.                                     §
JAMIE L. THOMPSON;                                      §
ROBERT L. ERMATINGER, JR.                               §
SCOTT ROBERT SAYERS;                                    §
ERIC VAUGHN MOYE;                                       §
CITY OF DALLAS;                                         §
DALLAS COUNTY, TEXAS; and                               §
DOES 1-20, all whose true names                         §
are unknown,                                            §
                    Defendants.                         §

        DEFENDANT ROBERT ERMATINGER, JR.’S RESPONSE IN OPPOSITION
          TO PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

TO THE HONORABLE COURT:

         Pursuant to N.D. Tex. Local Rules 56.1, 56.4, and 56.5, Defendant Robert Ermatinger, Jr.

(“Detective Ermatinger”) submits the following Response to Plaintiffs Steven Aubrey and Brian

Vodicka’s Motion for Partial Summary Judgment (Dkt. No. 163). In compliance with Local Civil

Rules LR 56.5(a) and 56.6(b), Detective Ermatinger will file separately a brief and appendix in

support of this Response.




Defendant Ermatinger’s Response in Opposition to Plaintiffs’ Motion for Partial Summary Judgment
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                                         I.     BASES OF OPPOSITION

           Detective Ermatinger’s concise explanation as to why he opposes the Plaintiffs’ Motion

shall be set forth in his accompanying brief pursuant to Local Civil Rule LR 56.4(b).

     II.      EVIDENCE IN SUPPORT OF DEFENDANT ERMATINGER’S RESPONSE

           The evidence used in support of Detective Ermatinger’s Response is set forth in his

supporting appendix, which will be filed separately in compliance with Local Civil Rule LR

56.6(b).

                                              III.     CONCLUSION

           For the reasons set forth in his supporting brief (to be filed separately), Detective

Ermatinger respectfully requests that this Court deny Plaintiffs’ Motion for Partial Summary

Judgment on each and every ground asserted because Plaintiffs cannot establish a genuine issue of

material fact that precludes Detective Ermatinger’s qualified immunity defense or the entry of

summary judgment in his favor on all claims against him.



           WHEREFORE, Defendant Robert Ermatinger, Jr. respectfully requests that the Court deny

Plaintiffs’ Motion for Partial Summary Judgment in its entirety, and grant such further relief as the

Court deems necessary and just.




Defendant Ermatinger’s Response in Opposition to Plaintiffs’ Motion for Partial Summary Judgment
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                                                        Respectfully submitted,

                                                        CITY ATTORNEY OF THE CITY OF DALLAS

                                                        Christopher J. Caso
                                                        City Attorney

                                                        /s/ Lindsay Wilson Gowin
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                                                        Attorneys for Defendant

                                        CERTIFICATE OF SERVICE

        I certify that on August 19, 2020, I electronically filed the foregoing with the clerk of court
for the U.S. District Court, Northern District of Texas, using the CM/ECF which will send
notification to case participants registered for electronic notice. I further certify that I have served
all case participants not registered for electronic notice by another manner authorized by the
Federal Rules of Civil Procedure 5(b)(2).
                                                                  /s/ Lindsay Wilson Gowin
                                                                  Assistant City Attorney




Defendant Ermatinger’s Response in Opposition to Plaintiffs’ Motion for Partial Summary Judgment
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